      Case 2:24-cr-00621-MWF             Document 114 Filed 12/12/24 Page 1 of 1 Page ID #:679
                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
        MINUTES - DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL / DETENTION ORDER -
                                         NEBBIA HEARING

Case No. CR 24-621-MWF-6                                        CourtSmart 12/12/2024                Date: December 12, 2024
Present: The Honorable Patricia Donahue                                                                    , U.S. Magistrate Judge
          Isabel Verduzco                    Ian Yanniello, Greg Staples, Daniel Weiner                           N/A
               Deputy Clerk                            Assistant U.S. Attorney                             Interpreter / Language

          DURK BANKS
 USA v.                                                            Attorney Present for Defendant:
                                                                   Christy O'Connor, Jonathan Brayman, Marissa Goldberg, Drew
 ✔ Present
 G               ✔ Custody G Bond
                 G                    G Not present                G✔ Present    G CJA   ✔ Retd
                                                                                         G        G DFPD      G Not present

PROCEEDINGS: DETENTION HEARING                               ✔ Contested detention hearing LV held.
✔                                            ✔
G Government’s request for detention is: G GRANTED G DENIED G WITHDRAWN G CONTINUED
G Witnesses CST (see separate list).         G✔ Exhibits Marked/Admitted (see separate list).

G Court orders that exhibits be returned to the respective counsel / party of record.
   G See Receipt for Release of Exhibits to Counsel.
G Counsel stipulation to bail.
G Court finds presumption under 18 USC 3142e                                      has not been rebutted.
G Court ORDERS DEFENDANT PERMANENTLY DETAINED. See separate detention order.
G Court finds presumption under 18 USC 3142e                                      has been rebutted.
G Court sets bail at: $                                        .        G SEE ATTACHED COPY OF CR-01 BOND FORM
   FOR CONDITIONS OF RELEASE.
G Court orders that defendant be detained for a period not to exceed ten (10) Court days. See separate order re temporary detention.
G Court orders further detention / bail hearing to be set on                                        at              Ga.m. / Gp.m. in
   Courtroom                                          before Judge                                                           .
G Court orders case continued to                               at                 Ga.m. / Gp.m. for                          , in
   Courtroom                                 before Judge                                                                    .
G Release Order Issued - Release No.                                              .
G Other:


PROCEEDINGS:                  G REVIEW / RECONSIDERATION OF BAIL / DETENTION ORDER - BOND HEARING
                              G NEBBIA HEARING

 Hearing on G Plaintiff’s G Defendant’s request for review / reconsideration of bail / detention order had and request is:
                          G GRANTED G DENIED
 Court ORDERS bail as to the above-named defendant G modified to G set at: $
     G SEE ATTACHED COPY OF CR-01 BOND FORM FOR CONDITIONS OF RELEASE.
 G Bond previously set is ordered vacated.
 G Court orders defendant permanently detained. See separate order.
 G Court denies request for bail, defendant shall remain permanently detained as previously ordered.
 G Witnesses CST (see separate list).        G Exhibits Marked / Admitted (see separate list).
 G Court orders that exhibits be returned to the respective counsel / party of record.
     G See Receipt for Release of Exhibits to Counsel.
 G Case continued to                                   at                G a.m. / G p.m. for
     before Judge                                                                  in Courtroom                      .
 G Nebbia conditions are satisfied and the Government approves the bond package as presented to the Court.
 G Other


 Release Order Issued - Release No.                                                                                   : 40
                                                                                           Deputy Clerk Initials IV

M-46 (10/21)     MINUTES - DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL / DETENTION ORDER - NEBBIA HEARING
